Case 1:03-cr-10078-.]DT Document 96 Filed 07/08/05 Page 1 of 2 Page|D 103

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

EASTERN DIVISION
UNITED STATES OF AMERICA
vs CR NO. 1:03-10078-03-T
RICKY PERSUAD
ORDER ON CHANGE OF PLEA

 

This eause came on to be heard on July 6, 2005, Assistant U. S. Attorney,
Richard Leigh Grinalds, appearing for the government, and the defendant appeared in person
and with counsel, M. Dianne Smothers, who was appointed

With leave of the Court, the defendant withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in Count 1 of the Indictrnent.

This case has been set for sentencing on Mondav . 0ct0ber 24. 2005, at 8:45

The defendant is allowed to remain on his present bond.
IT IS SO ORDERED.

A»M

JAM D. TODD
UN D STATES DISTRICT JUDGE

DATE: 7 Q/,(£W M$/
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M. Dianne Smothers

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Honorable J ames Todd
US DISTRICT COURT

